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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

   IN RE:                                                 §          Chapter 11
                                                          §
   THE GATEWAY VENTURES, LLC.                             §          Case No. 21-30071
                                                          §
          Debtor.                                         §
            ORDER GRANTING MOTION OF LEGALIST DIP GP, LLC FOR
         LEAVE TO AMEND THE OCTOBER 2022 DEED OF TRUST, SECURITY
         AGREEMENT, AND ASSIGNMENT OF RENTS ATTACHED TO THE SO
             ORDERED STIPULATION OF SETTLEMENT [DOC. NO. 378]
             PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 60

         CAME ON FOR CONSIDERATION, the Motion of Legalist DIP GP, LLC on behalf of

  Legalist DIP Fund I, LP and Legalist DIP SPV II, LP, (“Legalist”) to amend the October 2022

  Deed of Trust, Security Agreement, and Assignment of Rents Attached to the So Ordered

  Stipulation of Settlement [Doc No. 378] Pursuant to Federal Rule of Civil Procedure 60 the

  (“Motion”). The Court finds that the Motion was properly served and that no objections to the

  Motion were timely filed. Having considered the Motion, pleadings, and evidence before the

  Court, the Court finds that the motion should be granted. It is therefore:

         ORDERED, ADJUDGED, AND DECREED that the Motion is GRANTED; and it is



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         FURTHER ORDERED, ADJUDGED, AND DECREED that leave is granted for

  Legalist to amend the Stipulation to include a Modification of Deed of Trust, Security Agreement,

  and Assignment of Rents; and it is

         FURTHER ORDERED, ADJUDGED, AND DECREED that Michael Dixson on behalf

  of Debtor, The Gateway Ventures, LLC, shall (i) execute the Modification of Deed of Trust,

  Security Agreement, and Assignment of Rents, in the form attached hereto as Exhibit A; and (ii)

  deliver the original documents with wet ink signatures to, Bell Nunnally & Martin LP, 2323 Ross

  Avenue, Suite 1900, Dallas, Texas 75201 Attn: Gwen Walraven, Esq. by 5:00 p.m. CST on

  Monday, January 30, 2023.




                                                ###




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  Submitted by:

  Russell W. Mills
  Texas Bar No. 0078469
  rmills@bellnunnally.com
  BELL NUNNALLY & MARTIN LLP
  2323 Ross Avenue, Suite 1900
  Dallas, Texas 75201
  214-740-1400 Telephone
  214-740-1499 Facsimile
  ATTORNEYS FOR
  LEGALIST DIP GP, LLC, AS
  GENERAL PARTNER OF
  LEGALIST DIP FUND I, LP AND
  LEGALIST DIP SPV II, LP
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  NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
  REMOVE OR STRIKE ANY OF THE FOLLOWING INFORMATION FROM ANY
  INSTRUMENT THAT CONVEYS AN INTEREST IN REAL PROPERTY BEFORE IT IS FILED
  FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
  DRIVER’S LICENSE NUMBER.



  After Recordation, Return To:

  Bell Nunnally & Martin LLP
  2323 Ross Avenue, Suite 1900
  Dallas, Texas 75201
  Attn: Russell Mills

                                      MODIFICATION OF
                             DEED OF TRUST, SECURITY AGREEMENT,
                                  AND ASSIGNMENT OF RENTS

  STATE OF TEXAS                   §
                                   §
  COUNTY OF EL PASO                §

          This MODIFICATION OF DEED OF TRUST, SECURITY AGREEMENT, AND
  ASSIGNMENT OF RENTS (this “Modification”) is entered into effective as of January ____, 2023, by
  and among THE GATEWAY VENTURES, LLC, a Texas limited liability company (hereinafter referred
  to as “Grantor”), and LEGALIST DIP FUND I, LP, a Delaware limited partnership, and LEGALIST
  DIP SPV II, LP, a Delaware limited partnership, jointly and severally (Legalist DIP Fund I, LP and Legalist
  DIP SPV II, LP shall hereinafter be referred to collectively as “Beneficiary”).

          WHEREAS, Beneficiary and Grantor are parties to that certain Debtor-In-Possession Term Loan
  Credit Agreement, dated June 24, 2021, as may be amended (the “Loan Agreement”);

           WHEREAS, in order to secure the indebtedness created by the Loan Agreement, Grantor executed
  that certain Deed of Trust, Security Agreement, Financing Statement, and Assignment of Rents dated
  October 31, 2022, in favor of Beneficiary, and recorded as Document No. 20220104382 in the Official
  Public Records of El Paso County, Texas (the “Deed of Trust”);

          WHEREAS, the Deed of Trust covers, among other things, certain real estate located in El Paso
  County, Texas, as more particularly described in Exhibit “A” of the Deed of Trust (such legal description
  contained in the Deed of Trust shall hereinafter be referred to as the “Original Legal Description”), a copy
  of which is attached hereto as Exhibit “A”; and

          WHEREAS, the Deed of Trust is being modified herein to replace the Original Legal Description
  with a revised legal description as provided herein;

          NOW, THEREFORE, for and in consideration of the premises and of other good and valuable
  consideration, the receipt and sufficiency of which is hereby acknowledged, Grantor and Beneficiary agree
  as follows:



  DEED OF TRUST, SECURITY AGREEMENT, AND ASSIGNMENT OF RENTS – Page 1
                                                                                                       A
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         1.      The Original Legal Description, as contained in Exhibit “A” of the Deed of Trust
  is hereby deleted in its entirety and replaced with Exhibit “A-1” (the “Modified Legal
  Description”), which is attached to this Modification and incorporated herein for all purposes.

         2.     Other than as herein specifically amended, all other terms and conditions of the
  Deed of Trust shall remain in full force and effect. Unless the context requires otherwise, the
  words and terms used herein shall have the same meanings as originally set forth in the Deed of
  Trust.


                                      Signature Pages Follow.




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             EXECUTED as of the date of the acknowledgment to be effective as of the date and year first above
  written.

                                                             GRANTOR:

                                                             THE GATEWAY VENTURES, LLC,
                                                             a Texas limited liability company

                                                             By:     PDG Prestige, Inc.,
                                                                     a Texas corporation,
                                                                     its manager


                                                                     By:
                                                                     Printed Name: Michael Dixson
                                                                     Its: President


  STATE OF TEXAS                     §
                                     §
  COUNTY OF TRAVIS                   §

           BEFORE ME, the undersigned authority, on this day personally appeared Michael Dixson,
  President of PDG Prestige, Inc., a Texas corporation, the manager of The Gateway Ventures, LLC, a Texas
  limited liability company, known to me to be the person whose name is subscribed to the foregoing
  instrument, and acknowledged to me that he executed the same for the purposes and consideration therein
  expressed, and as the act and deed of said corporation and limited liability company, and in the capacity
  therein stated.

             GIVEN UNDER MY HAND AND SEAL OF OFFICE, this ___ day of January, 2023.

  [SEAL]

                                                             NOTARY PUBLIC, STATE OF TEXAS




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                                                           BENEFICIARY:

                                                           LEGALIST DIP FUND I, LP,
                                                           a Delaware limited partnership

                                                           By:     Legalist DIP GP, LLC,
                                                                   a Delaware limited liability company,
                                                                   its general partner


                                                                   By:
                                                                   Name:
                                                                   Title:


  STATE OF _______________ §
                           §
  COUNTY OF _____________ §

            BEFORE ME, the undersigned authority, on this day personally appeared
  ________________________, ________________________ of Legalist DIP GP, LLC, a Delaware limited
  liability company, the general partner of Legalist DIP Fund I, LP, a Delaware limited partnership, known
  to me to be the person whose name is subscribed to the foregoing instrument, and acknowledged to me that
  he executed the same for the purposes and consideration therein expressed, and as the act and deed of said
  limited liability company and said limited partnership, and in the capacity therein stated.

          GIVEN UNDER MY HAND AND SEAL OF OFFICE, this ___ day of January, 2023.

  [SEAL]

                                                           NOTARY PUBLIC, STATE OF




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                                                           LEGALIST DIP SPV II, LP,
                                                           a Delaware limited partnership

                                                           By:     Legalist DIP GP, LLC,
                                                                   a Delaware limited liability company,
                                                                   its general partner


                                                                   By:
                                                                   Name:
                                                                   Title:


  STATE OF _______________ §
                           §
  COUNTY OF _____________ §

            BEFORE ME, the undersigned authority, on this day personally appeared
  ________________________, ________________________ of Legalist DIP GP, LLC, a Delaware limited
  liability company, the general partner of Legalist DIP SPV II, LP, a Delaware limited partnership, known
  to me to be the person whose name is subscribed to the foregoing instrument, and acknowledged to me that
  he executed the same for the purposes and consideration therein expressed, and as the act and deed of said
  limited liability company and said limited partnership, and in the capacity therein stated.

          GIVEN UNDER MY HAND AND SEAL OF OFFICE, this ___ day of January, 2023.

  [SEAL]

                                                           NOTARY PUBLIC, STATE OF




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                                    EXHIBIT “A”

                               Original Legal Description




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                                  EXHIBIT “A-1”

                              Modified Legal Description




  EXHIBIT “A-1” TO
  MODIFICATION OF DEED OF TRUST, SECURITY AGREEMENT, AND ASSIGNMENT OF RENTS
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